
Order affirmed, with costs; no opinion.
Concur: Chief Judge Desmond and Judges Fuld, Burke and Keating. Judges Van Voorhis, Scileppi and Bergan dissent and vote to reverse and to dismiss the complaint as to defendant MacCallum upon the ground that there was no evidence of scienter of any propensity in this horse calling upon defendant MacCallum to take more than ordinary care in the confinement of horses (Benoit v. Troy &amp; Lansingburgh R. R. Co., 154 N. Y. 223; Van Leuven v. Lyke, 1 N.Y. 515; Brown v. Willard, 278 App. Div. 728, affd. 303 N. Y. 727).
